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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

RICHARD W. DEHAAN,                      *

      Plaintiff,                        *

vs.                                     *          CASE NO. 4:12-CV-6 (CDL)

UROLOGY CENTER OF COLUMBUS LLC *
and WILLIAM M. HARPER, IV,
                               *
     Defendants.
                               *

                                   O R D E R

      Plaintiff Richard Dehaan (“Dehaan”) is a former employee of

Defendant   Urology      Center   of   Columbus,    LLC   (“Urology   Center”).

Dehaan contends that Urology Center’s CEO, Defendant William M.

Harper, IV (“Harper”) subjected him to a hostile work environment

and terminated his employment in violation of Title VII of the

Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et seq.

Harper    brought    a    counterclaim       against   Dehaan   for   slander,

contending that Dehaan circulated false statements about Harper.

      Dehaan seeks to depose a former Urology Center employee, and

Defendants filed a Motion for Protective Order (ECF Nos. 22 & 23)

to prevent that deposition.            As discussed in more detail below,

that motion is denied.        Dehaan also contends that Defendants did

not adequately respond to his discovery requests, and he filed a

Motion to Compel (ECF No. 27).              For the reasons set forth below,

that motion is denied.        Finally, Dehaan filed a Motion to Extend
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Deadlines    (ECF    No.    26).        As    discussed       below,   that    motion   is

granted to the extent set forth in this Order.

                                        DISCUSSION

I.    Defendants’ Motion for Protective Order

      Dehaan      seeks    to   depose        Katherine      Lashley     (“Lashley”),    a

former employee of Urology Center.                  The parties seem to agree that

the   deposition     would      focus    on     Lashley’s     personal     knowledge    of

Harper’s alleged inappropriate relationships with certain Urology

Center employees.           Defendants argue that this evidence is not

discoverable because it is not relevant to                        Dehaan’s Title VII

claims.     Dehaan, however, contends that such evidence is relevant

to his defense to Harper’s slander counterclaim, which is based on

Dehaan’s dissemination of statements regarding Harper’s                          alleged

inappropriate relationships with certain Urology Center employees.

      Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties

may obtain discovery regarding any nonprivileged matter that is

relevant     to    any    party’s       claim      or   defense.”        Any   testimony

regarding the existence (or nonexistence) of Dr. Harper’s alleged

inappropriate       relationships        with       Urology     Center    employees     is

certainly     relevant     to    Harper’s          slander    counterclaim.       Though

Defendants assert that they are confident that Lashley would deny

any personal knowledge of any inappropriate relationships between

Harper and any Urology Center employee, Deehan is not required to

accept their assurances.            The Court finds that Dehaan should be



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permitted to depose Lashley.                    Therefore, Defendants’ Motion for

Protective Order is denied.

II.     Dehaan’s Motion to Compel

        In his Motion to Compel, Dehaan claims that Defendants did

not adequately respond to Dehaan’s First Interrogatories and First

Request       for     Production    of     Documents.           Dehaan     contends       that

Defendants         asserted     inappropriate         objections,       that    Defendants’

responses were incomplete and evasive, and that Defendants did not

respond       to    Dehaan’s    written    demand        that    Defendants      supplement

their    discovery       responses.         Defendants          argue    that    they     have

produced all discoverable and non-privileged documents responsive

to Dehaan’s document requests.

        Under Federal Rule of Civil Procedure 37(a)(3)(B), “[a] party

seeking discovery may move for an order compelling an                                 answer,

designation, production, or inspection.”                        Such a motion may be

made if a party fails to answer an interrogatory submitted under

Federal Rule of Civil Procedure 33 or fails to produce documents

in accordance with Federal Rule of Civil Procedure 34.                                Fed. R.

Civ.     P.    37(a)(3)(B)(iii)-(iv).                 Furthermore,       “an    evasive      or

incomplete disclosure, answer, or response must be treated as a

failure       to    disclose,    answer,        or    respond.”         Fed.    R.    Civ.   P.

37(a)(4).          Implicit in this rule is the principle that a party who

files    a    motion    to     compel    must       establish   that     the    other   party

actually failed to respond to the discovery requests.                                Moreover,



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the    moving   party     must   inform    the     Court    of   the     basis    for    its

contention that the production of discoverable evidence should be

compelled.        Mere conclusory allegations that the opposing party

has failed to comply with its discovery obligations do not provide

the Court with adequate information upon which the Court can make

a determination as to whether a party should be compelled to do

more than the party has already done.

       Dehaan     contends       that     Defendants’           objections        to     his

interrogatories were inappropriate, but he does not specify which

objections are inappropriate and why.                 Likewise, the Court cannot

determine       whether     Defendants’         interrogatory          responses        were

incomplete and evasive as Dehaan argues because Dehaan did not

even    provide    the     Court   with     a    copy      of    those    interrogatory

responses.       The Court is not required to do a party’s work for

him.    If a party fails to make the effort to demonstrate to the

Court the basis for his motion, then that party’s motion will not

be rescued by the Court.           Dehaan has failed to carry his burden of

demonstrating that his motion to compel interrogatory responses

should be granted.        Accordingly, it is denied.

       Regarding    Defendants’         document    production,          Dehaan   in     his

initial Motion to Compel argued that Defendants “failed to respond

or provide documentation for Requests 1, 3, 4, 5, 6, 7, 13, and

14.”    Pl.’s Mot. to Compel Disc. ¶ 4, ECF No. 27.                      Dehaan did not

provide the Court with any indication of whether Defendants made



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objections        based    on   privilege,         irrelevance,       or    some        other

legitimate grounds or whether Defendant responded that no such

documents were in its possession, custody, or control.                                 Again,

Defendants argue that they have produced all discoverable and non-

privileged documents responsive to Dehaan’s document requests.                               In

his reply brief, Dehaan specifically requested several documents,

including     a    confidential       settlement        demand   made      by     a    former

Urology Center employee and any witness statements prepared at

Defendants’ request regarding Dehaan.                   Pl.’s Reply Br. in Supp. of

Mot. to Compel 5-6, ECF No. 39.                   Dehaan did not, however, state

why these documents are discoverable.                   He also did not explain to

the   Court   whether       Defendants      have    objected     to    producing        these

documents.        And,     because    Dehaan      did   not   provide      this       list   of

documents until he filed his reply brief, Defendants did not have

an    opportunity     to    respond    to    it    either     (a)     explaining        their

objections or (b) stating that the documents would be produced.

Simply put, the Court cannot determine based on the bare-bones

record before it whether Defendants actually failed to respond to

Dehaan’s document requests.

       Motions to compel are not vehicles for a party to pass along

a discovery dispute to the Court for resolution.                        A party who is

dissatisfied with an opponent’s discovery responses must spell out

specifically the discovery that he seeks to have compelled and the

legal basis supporting such relief.                     Dehaan’s Motion to Compel



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does not meet the minimal standard necessary for invoking the

power of the Court to obtain discovery.                      Accordingly, Dehaan’s

Motion to Compel must be denied.

III. Dehaan’s Motion for Extension of Deadlines

     Dehaan       moved   for        an    extension    of   discovery     and   other

deadlines.     Discovery closed on December 31, 2012, and dispositive

motions    were    due    on    or    before      February   13,   2013.     Deehaan,

however, was unable to depose Lashley during the discovery period.

The Court orders that discovery be reopened until March 22, 2013

for the limited purpose of permitting Lashley’s deposition.                        The

parties shall confer with each other and with Lashley’s attorney

to determine a mutually agreeable date and time for Lashley’s

deposition.        The deadline for Dehaan’s response to Defendants’

summary judgment motion, which was filed on February 13, 2013,

shall be stayed until April 22, 2013.                  No further extensions shall

be permitted.

                                          CONCLUSION

     As discussed above, Defendants’ Motion for Protective Order

(ECF Nos. 22 & 23) is denied.                Dehaan’s Motion to Compel (ECF No.

27) is denied.       Dehaan’s Motion to Extend Deadlines (ECF No. 26)

is granted to the extent set forth in this Order.

     IT IS SO ORDERED, this 21st day of February, 2013.

                                                  S/Clay D. Land
                                                            CLAY D. LAND
                                                    UNITED STATES DISTRICT JUDGE



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